CaSe 1-18-40038-nh| DOC 45 Filed 05/22/18 Entered 05/22/18 13212219

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

ln re: Chapter ll
84 ELTON LLC, Case No.: 18-4003 8-nhl

Debtor.

 

X

AFFIDAVIT OF NISON BADALOV

 

STATE OF NEW YORK )
) ss.:
COUNTY O`F QUEENS )

Nison Badalov, being duly sworn, deposes and says:

l. I am at least eighteen (18) years of age and currently reside at 8245 Beverly Road,
Kew Gardens, New Yorl_< l 1415.

2. l have entered into a contract of sale With 84 Elton LLC, debtor and debtor-in-
possession (“chtor”), to purchase real property commonly known as 321 Pulaski Street,
Brooklyn, New York, identified under Block 1594, Lot 6l, in the County of Kings (“R_eL
Property”). l have further entered into a contract of sale with B&H Associates Group LLC
(“M”), to purchase real property commonly known as 319 Pulaski Street, Bi'ooklyn, New
York, identified under Block 1594, Lot 62, in the County of Kings (“Adjaceni Prnp_ ej_ly_”). The
purchase price for the Real Property and Adjacent Property, by bulk sale, is one million six
hundred thousand dollars ($],600,000.00)_.

3. l was one (l) of eight bidders who participated at the auction sale.

4. l am a good faith purchaser

5. I have no relation to the Debtor and/or B&H.

6 The negotiating and purchase of the Real Property and Adjacent Property has

been at arms-length

7. The negotiating and purchase of the Real Property and Adjacent Property has
been at arms-length between myself and Debtor and B&H through our respective counsel and/or
real estate brokers

8‘ l have not participated in price controlling, bid rigging, fraud or collusion in
connection With my purchase of the Real Propeity and Adj acent Propeity.

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To the best of my knowledge and belief, the foregoing is true and correct

9.
/H/*’"’"
_ ____ d_F/R_/

Nison Badalov

Sworn to before me this

 

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